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                           IN THE UNITED STATES DISTRICT
                              COURT FOR THE NORTHERN
                            DISTRICT OF ILLINOIS EASTERN
                                      DIVISION


 Dalonno C. Johnson,                                  )
                                                      )
                        Plaintiff,                    )
                                                      )   Case No. 1: 17-cv-07828
 vs.                                                  )
                                                      )   Judge Mary Rowland
 SOO Line Railroad,                                   )
                                                      )   Magistrate Judge Gabriel Fuentes
                        Defendant.                    )
                                                      )
                                                      )



                                     PLAINTIFF AFFIDAVIT

         I, Plaintiff Dalonno C. Johnson, respond to Magistrate Judge Fuentes’ August 24, 2020

Order and respectfully submits to this Court this affidavit. I respectfully beg your pardon for the

tardiness of this affidavit as I did not receive notice of this order until September 6, 2020.

I.        DEPOSITIONS

          Defendant and I have been in communication in an attempt to accommodate all parties

in the depositions of myself and my two treating physicians. I will contact the Defendant to

finalize dates and times tomorrow, Sept. 8, 2020 in order to complete the depositions no later

than Mon, Sept. 14, 2020 in accordance with the court’s order.

II.      MEDICAL DISCLOSURES

          To the best of my knowledge, I have disclosed the identities of all of my treating

physicians and medical providers with the exception of one who I recently started seeing. Upon

receipt of a new medical authorization form, I will provide this to the Defendant as well.

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        Additionally, the Defendant and this court continue to insist that I provide the Defendant

with a medical release for Dignity Health. However, I have already disclosed and provided the

release as the Defendant’s own records indicate. These are marked “ SOODJ0000162,

SOODJ0000163, SOODJ0000164, SOODJ0000165, SOODJ0000166, SOODJ0000167, SOODJ0000168,

and SOODJ0000169.




   RESPECTFULLY SUBMITTED this 7th day of September 2020.


                                                    By: /s/ Dalonno C. Johnson
                                                     Dalonno C. Johnson
                                                     P.O. BOX 490034
                                                     Chicago, Illinois 60649
                                                     Plaintiff Pro Se




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                                  CERTIFICATE OF SERVICE


       I hereby certify that on the 7th day of September 2020, the foregoing was

electronically filed with the Clerk of the Court, and that on said date I also emailed a copy of

the foregoing to the following:

                                           Chloe G. Pedersen
                                       Fletcher and Sippel, L.L.C.
                                        29 North Wacker Drive
                                        Chicago, IL 60606-2832
                                     cpedersen@fletcher-sippel.com
                                         Attorney for Defendant
                                      SOO Line Railroad Company


                                                              By: /s/ Dalonno C. Johnson
                                                                      Dalonno C. Johnson




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